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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

REDNER’S MARKETS, INC.,                     Case No. 1:24-cv-11801

                      Plaintiff,            Hon. Jeffrey I. Cummings

v.

LAMB WESTON HOLDINGS, INC., et al.,

            Defendants.
ALEXANDER GOVEA, on behalf of himself       Case No. 1:24-cv-11816
and all others similarly situated,
                                            Hon. Matthew F. Kennelly
                      Plaintiff,
v.

NATIONAL POTATO PROMOTION
BOARD d/b/a POTATOES USA, et al.,

                      Defendants.
KAREN POLLACK, on behalf of herself and     Case No. 1:24-cv-11864
others similarly situated,
                                            Hon. Sara L. Ellis
                      Plaintiff,

v.

CAVENDISH FARMS, LTD., et al.,

                      Defendants.
SILVIYA SETTECASI, on behalf of herself     Case No. 1:24-cv-11872
and all others similarly situated,
                                            Hon. Joan B. Gottschall
                      Plaintiff,

v.

NATIONAL POTATO PROMOTION
BOARD d/b/a/ POTATOES USA, et al.

                      Defendants.

ROSEMARIE MURO; TERESA                      Case No. 1:24-cv-11963
CONTRERAS; AARON LANCASTER,

                      Plaintiffs,           Hon. Elaine M. Bucklo
v.



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 MCCAIN FOODS, USA, INC., et al.,

                         Defendants.

 KATIE PATTERMANN, MYKAYLA PAGE, Case No. 1:24-cv-12031
 FERNANDO MARCELO LOPEZ, JOANN
 CHAMPAGNE, MALLORY FLANNERY,
 LAURA ANN OWENS, and TODD JONES, Hon. Edmond E. Chang

                         Plaintiffs,
 v.

 NATIONAL POTATO PROMOTION
 BOARD d/b/a POTATOES USA, et al.,

                         Defendants.
 KING KULLEN GROCERY CO., INC.,                    Case No. 1:24-cv-12076

                                                   Hon. Georgia N. Alexakis
                         Plaintiff,
 v.

 LAMB WESTON HOLDINGS, INC., et al.,

                         Defendants.

                      MURO PLAINTIFFS’ MOTION PURSUANT
                TO LOCAL RULE 40.4 TO REASSIGN CASES AS RELATED

          Plaintiffs Rosemarie Muro, Teresa Contreras, and Aaron Lancaster (“Plaintiffs”) in Muro,

et al. v. McCain Foods USA, Inc., et al., No. 1:24-cv-11963 (N.D. Ill.), pursuant to Northern

District of Illinois Local Rule 40.4, respectfully move this Court1 to reassign six related class

action cases to the Honorable Jeffrey I. Cummings, who is presiding over the first-filed action.

The Redner’s Markets, Govea, Pollack, King Kullen, Patterman, and Settecasi plaintiffs consent

to this Motion.


      1
      Plaintiffs in later-filed actions are permitted to file Local Rule 40.4 Motions to Reassign as
Related with the District Judge in the first-filed action. See, e.g., Ex. 1, In Re Broiler Chicken
Antitrust Litig., No. 1:16-cv-8637 (N.D. Ill.)(Durkin, J.) at ECF No. 686, granted at ECF No. 708
(Ex. 2); see also Ex. 3, Diparvine v. Ripple 1471, Inc., et al., No. 1:10-cv-5114 (N.D.
Ill.)(Kennelly, J.) at ECF No. 8, granted at ECF No. 11 (Ex. 4). All “Ex. __” references herein are
to the Declaration of Shana E. Scarlett filed contemporaneously herewith.



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                                       I. INTRODUCTION

       Since November 15, 2024, seven class action complaints against Defendants2 have been

filed in this district. All seven actions complain of a price-fixing conspiracy under federal or state

antitrust laws involving Defendants’ conspiracy to unlawfully increase the prices of Frozen Potato

Products.3

       All seven complaints allege that Defendants agreed to not compete on price. Instead,

Defendants agreed to impose lockstep price increases. All seven complaints allege that Defendants

imposed price increases within days of one another.4 They allege that Defendants coordinated their

price hikes and have succeeded at collectively raising the price of frozen potatoes. They also allege

that, from July 2022 to July 2024, Frozen Potato Product prices increased 47%.

       The primary differences between the complaints are the proposed classes. Two cases have

been filed on behalf of direct purchasers of Frozen Potato Products and five cases have been filed

on behalf of indirect purchasers of Frozen Potato Products. The class action complaints and the

classes on whose behalf they allege claims follow:

                Redner’s Markets, Inc., v. Lamb Weston Holdings, Inc., et al., No. 24-
                 cv-11801 (Cummings, J.) (Class defined as: All persons or entities that
                 directly purchased Frozen Potato Products from one or more Defendants
                 within the United States from January 1, 2021, until the time that the




   2
      Defendants in the class actions are: Cavendish Farms Ltd.; Cavendish Farms, Inc.; Circana,
LLC; J.R. Simplot Company; Lamb Weston BSW, LLC; Lamb Weston Holdings, Inc.; Lamb
Weston Sales, Inc.; Lamb Weston, Inc.; Lamb Weston/Midwest, Inc.; McCain Foods Ltd.; McCain
Foods USA, Inc.; and National Potato Promotion Board, d/b/a Potatoes USA. The Redner’s
Markets Complaint, King Kullen Complaint, and the Pollack Complaint do not name Circana, LLC
nor the National Potato Promotion Board, d/b/a Potatoes USA as Defendants.
    3
      Frozen Potato Products include frozen french fries, hash browns, tater tots, and other frozen
potato products.
    4
      Ex. 5, Redner’s Markets Complaint ¶¶ 71–73; Ex. 6, Govea Complaint ¶ 43; Ex. 7, Pollack
Complaint ¶¶ 39–40; Ex. 8, Muro Complaint ¶¶ 81–84; Ex. 9, Settecasi Complaint ¶ 43; Ex. 10,
Pattermann Complaint ¶ 46; Ex. 11, King Kullen Complaint ¶¶ 71–73.



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               adverse effects of Defendants’ anticompetitive conduct cease (the
               “Class Period”));5

              King Kullen Grocery Co., v. Lamb Weston Holdings, Inc., et al., No. 24-
               cv-12076 (Alexakis, J.) (Class defined as: All persons or entities that
               directly purchased Frozen Potato Products from one or more Defendants
               within the United States from January 1, 2021, until the time that the
               adverse effects of Defendants’ anticompetitive conduct cease (the
               “Class Period”));6

              Alexander Govea, v. National Potato Promotion Board d/b/a Potatoes
               USA, et al., No. 1:24-Cv-11816 (Kennelly, J.) (Class defined as:
               “Nationwide Class. All natural persons, businesses, entities and
               corporations in the United States who indirectly purchased the
               Defendants’ FPPs beginning on January 1, 2021, through the present
               day. In the alternative to the nationwide class, Plaintiff seeks to
               represent the following statewide sub-class: State Sub-Class. All natural
               persons, businesses, entities and corporations in the Illinois Brick
               repealer statute states who indirectly purchased the Defendants’ FPPs
               beginning on January 1, 2021, through the present day.”);7

              Karen Pollack, v. Cavendish Farms, Ltd., et al., No. 24-cv-11864 (Ellis,
               J.) (Class defined as: “(the “Nationwide Class”) defined as follows: All
               persons and entities who indirectly purchased Frozen Potatoes from
               defendants or co-conspirators for personal consumption between
               January 1, 2021 and the present.” and “(the “State Law Class”): All
               persons and entities who indirectly purchased Frozen Potatoes from
               defendants or co-conspirators for personal consumption in Alabama,
               Arizona, Arkansas, California, Colorado, Connecticut, the District of
               Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Maryland,
               Michigan, Minnesota, Mississippi, Montana, Nebraska, Nevada, New
               Hampshire, New Jersey, New Mexico, New York, North Carolina,
               North Dakota, Oregon, Rhode Island, South Dakota, Tennessee, Utah,
               Vermont, West Virginia, and/or Wisconsin between January 1, 2021
               and the present.”);8

              Silviya Settecasi, v. National Potato Promotion Board d/b/a Potatoes
               USA, et al., No. 24-cv-11872 (Gottschall, J.) (Nationwide Class. All
               natural persons, businesses, entities and corporations in the United
               States who indirectly purchased the Defendants’ FPPs beginning on

   5
      Ex. 5, Redner’s Markets Complaint ¶ 65.
   6
      Ex. 11, King Kullen Complaint ¶ 132.
    7
      Ex. 6, Govea Complaint ¶ 34.
    8
      Ex. 7, Pollack Complaint ¶¶ 64–65; Plaintiff Karen Pollack has moved to relate her case to
the Redner’s Markets action and reassign her case to Judge Cummings pursuant to Northern
District of Illinois Local Rule 40.4 on November 22, 2024. See Pollack (ECF No. 9).



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             January 1, 2021, through the present day. . . In the alternative to the
             nationwide class, Plaintiff seeks to represent the following statewide
             sub-class: State Sub-Class. All natural persons, businesses, entities and
             corporations in the Illinois Brick repealer statute states who indirectly
             purchased the Defendants’ FPPs beginning on January 1, 2021, through
             the present day…Arizona, California, Connecticut, District of
             Columbia, Florida, Illinois, Iowa, Kansas, Maine, Maryland, Michigan,
             Minnesota, Mississippi, Nebraska, Nevada, New Hampshire, New
             Mexico, New York, North Carolina, North Dakota, Oregon, Puerto
             Rico, Rhode Island, South Dakota, Tennessee, Utah, West Virginia and
             Wisconsin);9

            Rosemarie Muro; Teresa Contreras; Aaron Lancaster v. McCain
             Foods, USA, Inc., et al., No. 24-cv-11963 (Bucklo, J.) (Class defined
             as: “(the “Nationwide Class”) All persons or entities that indirectly
             purchased Frozen Potato Products from one or more Defendants or co-
             conspirators for personal consumption within the United States from
             January 1, 2021, until the time that the adverse effects of Defendants’
             anticompetitive conduct cease (the “Class Period”)” and (“the Multi-
             State Class”) All persons or entities that purchased Frozen Potato
             Products from one or more Defendants or co-conspirators for personal
             consumption in Alabama, Arizona, Arkansas, California, Colorado,
             Connecticut, D.C., Florida, Hawaii, Illinois, Iowa, Kansas, Maine,
             Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Montana,
             Nebraska, Nevada, New Hampshire, New Jersey New Mexico, New
             York, North Carolina, North Dakota, Oregon, Rhode Island, South
             Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin
             during the Class Period.”).10

            Katie Pattermann, Mykayla Page, Fernando Marcelo Lopez, Joann
             Champagne, Mallory Flannery, Laura Ann Owens, And Todd Jones,
             Plaintiffs, v. National Potato Promotion Board d/b/a Potatoes USA, et
             al., No. 1:24-Cv-12031 (Chang, J.) (Class defined as: “Nationwide
             Class. All persons who indirectly purchased FPPs for personal or
             household use in the United States from January 1, 2021 to the present.
             Plaintiffs also seek to represent the following statewide sub-class: State
             Sub-Class. All persons who indirectly purchased the Defendants’ FPPs
             for personal or household use in in Arizona, California, Connecticut,
             District of Columbia, Florida, Illinois, Iowa, Kansas, Maine, Maryland,
             Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Hampshire,
             New Mexico, New York, North Carolina, North Dakota, Oregon, Puerto




9
    Ex. 9, Settecasi Complaint ¶¶ 64–66.
10
     Ex. 8, Muro Complaint ¶¶ 137–138.



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                Rico, Rhode Island, South Dakota, Tennessee, Utah, West Virginia and
                Wisconsin from January 1, 2021 to the present.”).11

         Pursuant to Local Rule 40.4, all the lawsuits should be reassigned to the calendar of Judge

Cummings who presides over the earliest numbered case.

                                           II. ARGUMENT

         Reassignment under Local Rule 40.4 provides for cases to be reassigned to a particular

court to “promote[] efficient use of judicial resources by minimizing duplication of effort on cases

that have a great deal in common.”12 The rule enables “a motion with the judge before whom the

lowest-numbered case of the claimed related set of cases is pending.”13

         Local Rule 40.4 requires two showings. First, the moving party must establish that the

cases are related, by demonstrating: (1) the cases involve the same property; (2) the cases involve

some of the same issues of fact or law; (3) the cases grow out of the same transaction or occurrence;

or (4) in class action suits, one or more of the classes involved in the cases is or are the same.14

         Second, if related, a case may be reassigned to the calendar of a judge hearing an earlier-

numbered case only if: (1) both cases are pending in this District; (2) the handling of both cases

by the same judge is likely to result in a substantial saving of judicial time and effort; (3) the earlier

case has not progressed to the point where designating a later filed case as related would be likely

to substantially delay the proceedings in the earlier case; and (4) the cases are susceptible of

disposition in a single proceeding.15




    11
        Ex. 10, Pattermann Complaint ¶ 64.
    12
        Global Patent Holdings, LLC v. Green Bay Packers, Inc., 2008 WL 1848142, at *2 (N.D.
Ill. Apr. 23, 2008) (Kocoras, J.).
     13
        Pettitt v. Boeing Co., 606 F.3d 340, 342 (7th Cir. 2010).
     14
        L.R. 40.4(a); see also Velocity Patent LLC v. Mercedes-Benz USA, LLC, 2014 WL 1661849,
at *1 (N.D. Ill. Apr. 24, 2014) (Darrah, J.).
     15
        L.R. 40.4(b); see also Velocity Patent LLC, 2014 WL 1661849, at *1.



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        Here, reassignment is appropriate because these antitrust lawsuits meet the requirements

of Local Rule 40.4(a) and (b).

   A. The Lawsuits Are Related Under Local Rule 40.4(a)

        The lawsuits are related under Rule 40.4(a) because the cases involve nearly identical

issues of law and fact and grew out of the same transactions or occurrences. Moreover, the classes

seek to recover the same property on behalf of direct and indirect purchasers of Frozen Potato

Products. Several also involve identical or overlapping classes.

        First, the cases share a common factual core. All Plaintiffs will seek to show that

Defendants have engaged in a conspiracy since at least 2021 to fix and raise prices of Frozen Potato

Products. Plaintiffs will seek discovery to prove that Defendants colluded in this market, through

their direct communications and access to one another’s competitively sensitive data, all to fix the

prices of Frozen Potato Products at artificially inflated levels. All Plaintiffs alleged, and will seek

to show, that while Frozen Potato Product prices increased, Defendants’ input costs declined, and

therefore that costs cannot explain the price increases.16

        The cases also involve many of the same issues of law because they contain duplicative

counts. All the complaints allege an antitrust claim under Section 1 of the Sherman Act. The only

difference is that, while all Plaintiffs seek injunctive relief under the federal antitrust laws, only

the direct purchasers seek damages under the Sherman Act. The indirect purchasers seek damages

under various state antitrust and consumer protection laws. Within the respective categories of

direct and indirect purchasers, however, the classes overlap.




   16
      Ex. 5, Redner’s Markets Complaint ¶¶ 2–3; Ex. 6, Govea Complaint ¶ 3; Ex. 7, Pollack
Complaint ¶ 74; Ex. 8, Muro Complaint ¶¶ 61, 92; Ex. 9, Settecasi Complaint ¶ 3; Ex. 10,
Pattermann Complaint ¶ 3; Ex. 11, King Kullen Complaint ¶¶ 2–3.



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       B. The Lawsuits Satisfy the Factors Set Forth in Local Rule 40.4(b)

             All four requirements of Local Rule 40.4(b) are also met. First, a brief review of the case

dockets confirms that all are proceeding in the Northern District of Illinois, and none of the cases

have substantively progressed beyond the filing of a complaint. Therefore, reassignment would

not cause delay.

             Second, the handling of all cases by the same judge is likely to result in a substantial saving

of judicial time and effort. The cases will involve duplicative discovery of Defendants and third

parties and will involve common defenses. Therefore, reassignment will save “judicial resources

with respect to claim construction, adjudication of common discovery disputes, and adjudication

of issues relating to validity and other defenses.”17

             Finally, the cases are susceptible to disposition in a single proceeding because they

“involve fundamentally similar claims and defenses.”18 Each case alleges that Defendants have

engaged in a continuing contract, combination, and conspiracy since at least 2021 to increase the

price of Frozen Potato Products.

                                                 III. CONCLUSION

             WHEREFORE, Plaintiffs Rosemarie Muro, Teresa Contreras, and Aaron Lancaster

respectfully request that the lawsuits, Alexander Govea, v. National Potato Promotion Board d/b/a

Potatoes USA, et al., No. 1:24-cv-11816 (Kennelly, J.); Karen Pollack, v. Cavendish Farms, Ltd.,

et al., No. 24-cv-11864 (Ellis, J.); Silviya Settecasi, v. National Potato Promotion Board d/b/a

Potatoes USA, et al., No. 24-cv-11872 (Gottschall, J.); King Kullen Grocery Co., v. Lamb Weston

Holdings, Inc., et al., No. 24-cv-12076 (Alexakis, J.), and Rosemarie Muro; Teresa Contreras;



       17
            21 srl v. Enable Holdings, Inc., 2009 WL 4884177, at *2 (N.D. Ill. Dec. 9, 2009) (Darrah,
J.).
       18
            Velocity Patent LLC, 2014 WL 1661849, at *2.



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Aaron Lancaster v. McCain Foods, USA, Inc., et al., No. 24-cv-11963 (Bucklo, J.) be designated

as related to Redner’s Markets, Inc., v. Lamb Weston Holdings, Inc., et al., No. 24-cv-11801

(Cummings, J.) pursuant to Local Rule 40.4, and reassigned to Judge Cummings, who is presiding

over the earliest-numbered case. Plaintiffs also request the assignment of any future related cases

to Judge Cummings.



DATED: November 26, 2024                       Respectfully submitted,

                                               By s/ Shana E. Scarlett
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                                    Class




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